UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------   X
Anthony Guidera, on behalf of himself and                 :
others similarly situated in the proposed                 :   Case No.: 22 Civ. 10143
FLSA Collective Action,                                   :
                                                          :
                      Plaintiff,                          :
                                                          :
         -against-                                        :
                                                              STIPULATION AND CONSENT
                                                          :
Noom, Inc., and Mark Simon,                                   MOTION TO DISMISS
                                                          :
                                                              PROCEEDINGS TO ALLOW FOR
                                                          :
                      Defendants.                             ARBITRATION OF CLAIMS
                                                          X

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              STIPULATION AND CONSENT MOTION TO DISMISS PROCEEDINGS
                       TO ALLOW FOR ARBITRATION OF CLAIMS

         Plaintiff ANTHONY GUIDERA (“Plaintiff”), and Defendant NOOM, INC.

(“Defendant”), by and through their attorneys in the above-titled cause of action, and pursuant to

the Federal Arbitration Act (“FAA”), 9 U.S.C. § 1 et seq., respectfully move this Court to

dismiss the judicial proceedings without prejudice. In support of their Motion the parties agree as

follows:

         1.       Plaintiff was employed by Defendant which maintains an Arbitration Program;

         2.       Plaintiff electronically executed an agreement requiring the arbitration of the

claims at issue in this lawsuit on an individual basis;

         3.       The parties agree that Plaintiff shall pursue his claims on an individual basis

through binding arbitration with the American Arbitration Association (“AAA”);

         4. The parties agree that the arbitration will governed by the AAA Employment Dispute

Resolution Procedures;

         WHEREFORE, the parties respectfully request that this Court grant the instant motion
and dismiss the judicial proceedings without prejudice.

       Stipulated and agreed by the parties this 20th day of January, 2023.

                                                 Agreed to by:



                                                 By:/s/ Joshua B. Waxman
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                                                      Attorneys for Defendants




                                                 By:/s/ Jason Mizrahi
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                                                      Attorneys for the Plaintiffs and Proposed
                                                      FLSA Collection Action Plaintiffs


SO ORDERED this 26th         January 2023.
                ____ day of _________,



____________________________________
Paul G. Gardephe
United States District Judge




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